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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

COMMONWEALTH OF                      :
MASSACHUSETTS EX REL.                :
MYKEL POWELL,                        :
COMMONWEALTH SECOND                  :
AMENDMENT, BRENT                     :
CARLTON and MYKEL                    :
POWELL,                              :
    Plaintiffs,                      :
                                     :
v.                                   :                      C.A. No.: 18-11336-FDS
                                     :
SGT. BRIAN HOLMES in his             :
official capacity as Sergeant of the :
Stoughton Police Department,         :
JAMES O’CONNOR in his                :
individual and official capacity as :
Deputy Chief of the Stoughton        :
Police Department, DONNA M. :
McNAMARA, in her individual :
and official capacity as Chief of    :
the Stoughton Police Department, :
VILLAGE GUN SHOP, INC.               :
d/b/a VILLAGE VAULT and              :
PETER DOWD,                          :
        Defendants.                  :
______________________________:

       NOTICE IN THE NATURE OF A SUPPLEMENTAL DISCLOSURE AS TO
       INFORMATION PREVIOUSLY PROVIDED TO COURT AND COUNSEL

       During the course of this litigation, including during the March, 2020 status conference

with this Court, the undersigned has indicated that, when the business of Village Gun Shop, Inc.

d/b/a Village Vault shuttered in 2018, the business records were destroyed as part of the closure

process. While doing some recent work, Peter Dowd now has come across an old filing cabinet

that was found to contain some records of Village Vault previously thought to have been

destroyed. Upon being informed of the discovery, the undersigned requested that the material be

produced to him. Upon review, should the discovered material trigger any obligation of Village


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Gun Shop, Inc. d/b/a Village Vault or Peter Dowd to supplement their disclosures in this matter

or should the material be responsive to those discovery requests that the plaintiffs made that were

in compliance with this Court’s deadline, the material will be produced to counsel in the ordinary

course. This notice simply is intended to ensure that the Court and counsel are made aware of

this development.

                                                      DEFENDANTS VILLAGE GUN SHOP,
                                                      INC. d/b/a VILLAGE VAULT and PETER
                                                      DOWD,
                                                      By their attorney,

                                                      /s/ Andrew J. Gambaccini
                                                      Andrew J. Gambaccini
                                                      Reardon, Joyce & Akerson, P.C
                                                      4 Lancaster Terrace
                                                      Worcester, MA 01609
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                                                      BBO #: 654690
                                                      agambaccini@rja-law.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
and that a paper copy shall be served upon those indicated as non-registered participants on May
6, 2020.



                                                      /s/ Andrew J. Gambaccini
                                                      Andrew J. Gambaccini




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